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                  Exhibit 26




                  Exhibit 26
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PROCEEDINGS OF THE DECEMBER 1ST MEETING

December 1st Meeting of the National Immunotherapy Coalition in Washington DC

The ambitious goals of the Cancer MoonShot 2020 Program were presented at a meeting hosted by Vice
President Joseph Biden at his Naval Observatory residence in Washington DC on December 1, 2015, where
members of the coalition presented their shared vision for translating the promise of precision medicine
through the delivery of combination immunotherapy to routine clinical cancer care, as well as their shared
commitment to accelerate the development of immunotherapy and vaccine therapy as the next generation
evolution of cancer care.

Attendees of that meeting, convened and chaired by Dr. Soon-Shiong, included leadership from the
pharmaceutical industry representing Amgen, GlaxoSmithKline, Pfizer, leadership from national payers
including Independence Blue Cross and Bank of America and healthcare leaders from security and
interoperability organizations including Allscripts and Blackberry. Major academic cancer centers represented
at this meeting included center directors from Massachusetts General Hospital, Johns Hopkins University,
University of Miami, University of Utah, Tufts Cancer Center and the Walter Reed National Military Institute as
well as representatives from the oncologists in the community.




The purpose of the meeting was to provide the Vice President and the members of his staff an updated status
of the science, clinical development, and obstacles facing the rapid development of immunotherapy in cancer.
National experts from all parts of the healthcare system were invited to provide this advice. The members
invited presented their views and observations of solutions to accelerate immunotherapy and combination
therapy for the benefit of cancer patients. These views and the proceedings are reported below.
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FDA
                Robert M. Califf, M.D.
                U.S. Food and Drug Administration (FDA)
                Deputy Commissioner for Medical Products and Tobacco

                “There come moments in time where we ask why drugs tested do not work. I can
                remember that moment in cardiology 30 years ago where we took out things that
                did not work and kept things that did. We may be at that moment in time with
                cancer. The FDA is here to act as the ‘cattle prod’ to accelerate this moment when
                we are beginning to figure out how cancer works. The FDA is ready to be part of
                this historic coalition where we can provide clinical trial guidance for the
                combination of novel innovative agents brought into the coalition from the Cancer
                Moon Shot Program 2020 members. By adopting innovative and adaptive clinical
                trials, the QUILT coalition will shepherd in a period accelerated by innovation in
                cancer treatment.”


                Janet Woodcock, M.D.
                U.S. Food and Drug Administration (FDA)
                Director of the Center for Drug Evaluation and Research (CDER)

                “Current clinical trials are organized around disease rather than immunology
                approaches. This traditional approach takes too long. You can only answer one
                question at a time and it may take you four years to answer one question about
                one drug and one tumor. It takes too long and doesn’t give you enough
                information. We need a large network to enroll a large number of patients. Almost
                all cancer patients are never enrolled in clinical trials. Almost all of them are never
                treated with investigational therapies. With regard to combinations, FDA issued
                guidance a number of years ago about investigational combinations. Development
                of Hepatitis C drugs is an example.

                My personal opinion: I believe we are approaching the science wrong. We have
                great basic science, we learn all this information but we don’t test it in the clinic in
                an efficient manner. Anything we learn from a mouse or human pathology is a
                hypothesis, and often the hypothesis is wrong when we test it in people. In
                complexities such as we face today in cancer where we have next generation
                sequencing, when we wish to combine chemotherapy with immunotherapy, when
                we wish to explore multiple combinations, you’re often asking five questions, not
                one. We need an engine that can turn around this knowledge rapidly and a
                process to help answer these questions effectively.

                An important issue is our need to involve the community, that’s where the patients
                are. To date, trials have been centered around major medical centers and these
                trials are slow to accrue, since patients do not want to leave their community and
                doctors do not want to send them to remote centers. We need to build an
                infrastructure that will support these community doctors and allow them to
                participate and have their patients participate in these clinical trials without losing
                their patients and without having their patients to go away.”
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                Peter W. Marks, M.D., Ph.D.
                U.S. Food and Drug Administration
                Deputy Director for the Center for Biologics Evaluation and Research (CBER)

                "Our goal is to enable important pathways for progress to get important therapies
                to patients. We will not be the impediment on the critical path at the FDA. Evidence
                generation needs to happen and we will work to streamline the process for vaccine
                development.”


NCI
                Jeffrey Schlom, Ph.D.
                Center for Cancer Research, National Cancer Institute, National Institutes of Health
                Chief – Laboratory of Tumor Immunology and Biology

                “This coalition that has been brought together by Dr. Soon-Shiong to address
                cancer is one of the most comprehensive sets of talents, and is quite unique. I’ve
                seen it all but I’ve never seen anything quite like this in my years. I’ve been there at
                the original war on cancer during the Nixon Administration and saw the bureaucracy
                on how it played out.

                The issue we face today in cancer care is a paradox. It is clear that immunotherapy
                can work in managing cancer but this approach is only working in about 20% of
                patients now. The problem we face today is that there are about 2 dozen drugs in
                immunotherapy in the clinic right now and they are all being developed in silos by
                each individual company. This National Immunotherapy Coalition is designed to
                solve this problem. I’m extremely proud to be a part of this and have never seen a
                situation like this where we can get these trials done so rapidly. I’ve been
                revitalized, regenerated through this whole process.”



                James L. Gulley, M.D., Ph.D., FACP
                Center for Cancer Research, National Cancer Institute, National Institutes of Health
                Chief – Genitourinary Malignancies Branch

                “We are seeing a sea change on how we are treating patients with cancer with
                immunotherapy. We are seeing deep durable and rapid responses to these new
                immunotherapy agents that unfortunately are only in the minority of patients and in
                some cancers there’s no responses at all. The best way to address these failures is
                to explore combination therapies and this National Immunotherapy Coalition is the
                vehicle to break down these silos and test these combinations rapidly. That’s the
                way we are going to make progress. I am proud to be part of this important and
                historic immunotherapy initiative.”
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CLINICAL LEADERSHIP
                Col. Craig Shriver, MD, FACS (DOD)
                Walter Reed National Military Medical Center
                Director, John P. Murtha Cancer Center

                “We validate big science through our clinical trials network. There are 1.2 million
                active duty military members, 9.3 million beneficiaries that receive military health
                care. That’s a huge network. Just in our active duty force, we get a thousand active
                duty members a year that come down with cancer. If a thousand active duty
                members were still getting injured in Afghanistan or Iraq, we would not accept this.
                So it’s the same thing with how militaries respond to infectious diseases, illnesses
                that affect the readiness of our active force. Cancer is that threat.”


                Ralph H. Hruban, M.D.
                Johns Hopkins University
                Director, Sol Goldman Pancreatic Cancer Research Center

                “We are at a crossroads, a time of discovery that’s transforming the ways we
                manage cancer. Johns Hopkins researchers and clinicians are working tirelessly to
                understand cancer better and to move treatments from bench to bedside so that
                patients can have a better shot at beating the disease. It is my hope that the
                National Immunotherapy Coalition, and others like it, will advance the
                understanding of cancer, not by small steps, but instead by leaps and bounds.”



                Mark C. Poznansky, M.D., Ph.D.
                Harvard Medical School; Massachusetts General Hospital
                Director, Vaccine & Immunotherapy Center

                “The time is now to create an accelerated path, and advance medical science
                forward to save lives and improve health worldwide. The National Immunotherapy
                Coalition clearly unites and leverages the resources and expertise of a diverse
                network of medical and business professionals to safely and rigorously accelerate
                the pace of discovery, development and actualization of cancer treatment. By
                accelerating the development of new safe and cost effective therapies combating
                cancer, we can bring them to those that are most in need faster and more cost
                effectively than current approaches.”
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                Stephen D. Nimer, M.D.
                University of Miami Health System
                Director, Sylvester Comprehensive Cancer Center

                “Every day, the physicians and scientists within Sylvester Comprehensive Cancer
                Center’s site disease groups and multidisciplinary research programs, are working
                to make exciting breakthroughs that can transform the way cancer patients are
                diagnosed and treated. We look forward to working for the National
                Immunotherapy Coalition and developing the most innovative strategies to fight the
                most deadly forms of cancer.”


                Azra Raza, M.D.
                Columbia University
                Director, Myelodysplastic Syndrome Center

                “We are very pleased to have the opportunity to work with the National
                Immunotherapy Coalition and collaborate with a world-class team who share a
                commitment to reduce cancer incidence and to improve the quality of life of those
                affected by cancer. Being able to pool resources and agents, we will be able to
                make a significant leap in developing new immunotherapeutic and combinations
                that will most benefit patients with various cancer types and stages.”



                Vivian S. Lee, M.D., Ph.D., M.B.A.
                University of Utah
                SVP for Health Sciences; Dean, School of Medicine; CEO, University of Utah
                Health Care

                “There really is a no more fascinating or promising time to be in medicine. The
                National Immunotherapy Coalition is an amazing opportunity to discuss obstacles
                that may impede the successful moonshot for cancer and reach the goal of
                establishing an effective vaccine for this disease in 5 years instead of 20. The
                University of Utah is deeply committed to solving these dilemmas and I, for one,
                am heartened that we will help lead the way.”



                Andrew M. Evens, DO, MSc, FACP
                Tufts University School of Medicine
                Chief, Division of Hematology/Oncology; Director of Tufts Cancer Center

                “I am honored to join a group of world-renowned expert physicians, scientists and
                researchers who have a shared passion for fighting cancer. Cancer can affect
                every aspect of a person’s life — and the lives of their loved ones. That's why we
                are dedicated to research that can bring new and innovative treatments to patients
                in less time.”
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                Patrick Soon-Shiong, M.D., FRCS(C), FACS
                NantWorks & Chan Soon-Shiong Institute of Molecular Medicine (CSSIOM)
                Founder & Chairman

                “There are unique times in history when events and advancements in technology
                converge to elicit a quantum leap in medical care. This is not only a unique time,
                but also a unique inflection point in the history of cancer. The era of
                immunotherapy has taken the oncology world by storm. For the first time in 40
                years there is a glimmer that we may be able to win this war against cancer. Large
                pharma and biotech companies are developing dozens of agents to activate the
                immune system. The problem is that while these drugs are being developed
                individually in silos by each entity, they need to act together when it comes to
                activating the immune system. If we follow the current path of drug development, it
                may take 40 or 50 years before we have worked out the right cocktail combination
                and countless lives will be lost as a result of this inefficiency.

                Our knowledge in the science of genomics, proteomics, immunology and
                immunotherapy has advanced and converged at an unprecedented speed, making
                now the time for the rapid deployment and orchestration of immunotherapy for the
                benefit of millions of cancer patients. The Cancer MoonShot 2020 Program, the
                National Immunotherapy Coalition and the QUILT Program are designed to do just
                that, bring together a diverse group of visionary leaders and stakeholders to pool
                resources and bring to patients a dramatic improvement in cancer care.”


PHARMA
                Paul Seligman, M.D., MPH
                Amgen
                Chief of R&D Policy

                “At AMGEN, we are committed to using genomics and deep insights into biology
                to develop novel therapies for cancer. We are committed to the goals of
                collaborative research efforts in immuno-oncology and the development of
                innovative combination therapies. It is a time of unprecedented progress in our
                ability to understand how to harness the power of the immune system to treat
                tumors, and collaborative approaches represent a tremendous opportunity to
                combine the efforts of key stakeholders to accelerate progress.”


                Patrick Vallance
                GlaxoSmithKline
                President, Research & Development

                “Modernizing our thinking and taking a more open and collaborative approach to
                our research will allow us to make greater progress in the development of new
                cancer therapies for patients. Everyone recognizes the future of effective cancer
                treatments lies in their combinations, but understanding what to combine and how
                best to use these isn’t something companies can do alone. We could achieve
                much more together and I hope this National Immunotherapy Coalition will
                support the collection of data and sharing of information on existing treatments
                and those in clinical trials in a smart, collaborative way.”
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                Mikael Dolsten, M.D., Ph.D.
                Pfizer, Inc.
                President, Worldwide Research & Development

                "The challenge of cancer is far too great for any of us to tackle alone. It is our
                hope that the joining together of the health innovation ecosystem under the
                National Immunotherapy Coalition will further accelerate the development of
                game changing, combination immunotherapies for the benefit of cancer patients.”



                Frank R. Jones, Ph.D.
                Etubics Corporation
                Chairman, President, and CEO

                “At Etubics, we specialize in developing innovative immunotherapies and
                vaccines for a wide-range of resilient diseases including cancer, so it goes without
                saying that we are extremely excited about this new initiative. We recognize the
                value in an immune stimulation treatment approach and look forward to
                volunteering our agents for combination clinical trials that we anticipate will
                produce groundbreaking results.”


PAYERS
                Jim Huffman
                Bank of America
                Senior Vice President, Head of US Health and Wellness Benefits

                “Bank of America provides coverage for about 500,000 employees and their
                families and for the past five years has worked closely with NantHealth to explore
                innovative methods for improving health & wellness for their associates. We are
                doing our part to address an issue that affects the lives of our employees, our
                customers and clients, and the people in the communities we serve around the
                world. We are committed to providing the most advanced cancer care to our
                employees and the National Immunotherapy Coalition with its national footprint of
                oncologists practicing cutting edge medicine is a valuable resource we will now be
                able to offer to our 500,000 beneficiaries. Bank of America has partnered with Dr.
                Soon-Shiong and his team over the past five years to bring advanced health and
                wellness to our associates and their families, and we are proud to be a part of this
                Cancer MoonShot 2020.”


                Daniel J. Hilferty
                Independence Health Group
                President and CEO

                “At Independence Blue Cross, we are proud to be the first major insurer offering
                reimbursement to our members for this next generation whole genome
                sequencing. We are committed to bringing state-of-the-art advances in oncology
                care to our members and making care accessible and affordable.
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                Independence Blue Cross is committed to bringing state-of-the-art advances in
                oncology care. Although the science is still evolving, experts agree that
                immunotherapy is a game-changing approach that is expected to revolutionize the
                way we treat cancer in the future. We are proud to participate in the National
                Immunotherapy Coalition. We look forward to continued collaboration among this
                incredible team to develop the most innovative cancer fighting strategy in our
                lifetime."



TECHNOLOGY
                Paul M. Black
                Allscripts
                CEO & Director

                “The National Immunotherapy Coalition is an exciting step towards a more efficient
                future in cancer treatment, partnering research and health information technology
                in an entirely new way. As a leader in healthcare information technology solutions,
                the EHR solution for the NIH and the NCI, we will play the critical role of
                connecting this newfound medical insight to the communities of healthcare
                professionals at the frontlines of care delivery. Combining the cutting edge
                research being done by NantWorks with the power of their Allscripts clinical
                information solutions will better harness the enormous volume of newly available
                data, allowing the dissemination of new discoveries much more rapidly to
                connected communities than has been possible in the past. We have seen already
                that when new research is presented in the clinicians' workflow efficiently and in a
                way that feels natural to them, it allows them to focus first and foremost on the
                well-being of all those dealing with cancer.”



                John Chen
                Blackberry
                CEO

                "At Blackberry, we understand the value that lies at the intersection of healthcare
                and technology, which is why we are constantly making advancements to reflect
                the ever-changing healthcare landscape. As we already power many of the tools
                that clinicians rely on heavily, we are confident that our involvement in the National
                Immunotherapy Coalition will be an asset to the future of Cancer treatment. This
                unique collaboration is pioneering extraordinary solutions to cancer care and we
                are truly honored to be a part of it.”
